     Case 5:12-cr-00005-MW-CJK     Document 810     Filed 08/26/15   Page 1 of 2




          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      PANAMA CITY DIVISION

UNITED STATES OF AMERICA,

v.                                           Case No. 5:12cr5-MW-10
                                             USM No. 21586-017
JASON APOLLO BROXTON,

             Defendant.

__________________________/

                      ORDER DENYING SENTENCE
                   REDUCTION UNDER AMENDMENT 782

       Defendant has moved to reduce his sentence under United States Sentencing

Guidelines Amendment 782. ECF No. 809.

       Amendment 782 reduced the base offense level for most drug offenses. A

district court may reduce the sentence of a defendant “who has been sentenced to a

term of imprisonment based on a sentencing range that has subsequently been

lowered by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2) (emphasis

added). But a district court must not reduce the sentence of a defendant whose

range has not been lowered. Here, Mr. Broxton's guideline range was determined

pursuant to a guideline section other than a drug offense; namely, as a career

offender. Because that guideline range has not been changed, Mr. Broxton is not

eligible for a reduction.



                                         1
    Case 5:12-cr-00005-MW-CJK      Document 810     Filed 08/26/15   Page 2 of 2




      The Eleventh Circuit has repeatedly followed this same analysis, holding

that defendants whose guideline ranges were calculated under other guidelines, not

the drug guidelines, were ineligible for reductions under earlier amendments that,

like Amendment 782, retroactively reduced drug guidelines. See United States v.

Berry, 701 F.3d 374, 376 (11th Cir. 2012) (holding ineligible for an Amendment

750 reduction a defendant whose range was calculated under the career offender

guideline); United States v. Moore, 541 F.3d 1323, 1327 (11th Cir. 2008) (same,

Amendment 706).

      For these reasons,

      IT IS ORDERED:

      1.    The motion to reduce Defendant’s sentence, ECF No. 809, is

            DENIED.

      2.    The Clerk must provide a copy of this order to Mr. Broxton himself

            by mail and to the attorneys of record and the Federal Public Defender

            through the electronic filing system.

      SO ORDERED on August 26, 2015.

                                             s/Mark E. Walker
                                             United States District Judge




                                         2
